 Case 3:12-cv-00841-SCW Document 27 Filed 12/01/12 Page 1 of 2 Page ID #81




                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF ILLINOIS
                             EAST ST. LOUIS DIVISION


CHARLES MURPHY                              )
                                            )
Plaintiff,                                  )
                                            )      12-CV-841-MJR
vs.                                         )
                                            )      Judge Michael J. Reagan
OFFICER ROBERT SMITH,                       )
OFFICER SHAWN RITCHEY &                     )      Magistrate Judge Stephen C. Williams
LIEUTENANT GREGORY FULK                     )


                                 AFFIDAVIT OF SERVICE

        I hereby certify that on December 1, 2012 I mailed copies of Plaintiff’s Motion for Oral
Argument along with this Court’s Order Granting Plaintiff’s Motion and Setting the Matter for
Telephonic Hearing on December 11, 2012 at 11:00a.m., in the above captioned matter to the email
address of Assistant Attorney General Lisa Cook below and via facsimile and regular U.S. Mail to
Litigation Coordinator of the Vandalia Correctional Center, Tracy McConaughay and the Secretary
to the Warden of Vandalia Correctional Center Robin Duckwitz, notice of which is being filed
electronically with the Clerk of the Court using CM/ECF system.

TO:

Lisa Cook                                          Tracy McConaughay
Assistant Attorney General                         Litigation Coordinator
500 South Second Street                            Vandalia Correctional Center
Springfield, IL 62706                              Route 51 North, P.O. Box 500
Tel: (217) 782-5819                                Vandalia, IL 62471
lcook@atg.state.il.us                              Tel: (618) 283-4170
Attorney for individual defendants                 Fax: (618) 283-9147

Robin Duckwitz
Secretary to Warden
Vandalia Correctional Center
Route 51 North, P.O. Box 500
Vandalia, IL 62471
Tel: (618) 283-4170
Fax: (618) 283-9147
 Case 3:12-cv-00841-SCW Document 27 Filed 12/01/12 Page 2 of 2 Page ID #82




                                              s/Fabian J. Rosati________
                                              Attorney for the Plaintiff

Fabian J. Rosati, Esq.
333 E. Ontario, #1312
Chicago, IL 60611
(312) 285-2005
(312) 269-7040 – Fax
Bar Number 6281531




                                    2
